                                  Case 8:23-bk-02988                 Doc 1        Filed 07/14/23           Page 1 of 34


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CCI Holdings Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2451 N. McMullen Booth Rd. Ste. 241
                                  Clearwater, FL 33759
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pinellas                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.cciconcrete.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                      Case 8:23-bk-02988                Doc 1         Filed 07/14/23              Page 2 of 34
Debtor    CCI Holdings Group, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 8:23-bk-02988                      Doc 1       Filed 07/14/23              Page 3 of 34
Debtor    CCI Holdings Group, LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                           Case 8:23-bk-02988              Doc 1       Filed 07/14/23          Page 4 of 34
Debtor   CCI Holdings Group, LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                  Case 8:23-bk-02988                  Doc 1        Filed 07/14/23             Page 5 of 34
Debtor    CCI Holdings Group, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 14, 2023
                                                  MM / DD / YYYY


                             X   /s/ Petar J. Pitesa                                                      Petar J. Pitesa
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Member




18. Signature of attorney    X   /s/ Buddy D. Ford, Esquire                                                Date July 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Buddy D. Ford, Esquire 0654711
                                 Printed name

                                 Buddy D. Ford, P.A.
                                 Firm name

                                 9301 West Hillsborough Avenue
                                 Tampa, FL 33615-3008
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (813)877-4669                 Email address      All@tampaesq.com

                                 0654711 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         CCI Holdings Group, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 14, 2023                   X /s/ Petar J. Pitesa
                                                           Signature of individual signing on behalf of debtor

                                                            Petar J. Pitesa
                                                            Printed name

                                                            Authorized Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  Case 8:23-bk-02988                  Doc 1         Filed 07/14/23                Page 7 of 34


 Fill in this information to identify the case:
 Debtor name CCI Holdings Group, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Vox Funding                                         Loan                                                                                                      $324,843.71
 14 E 44th St 4th
 Floor
 New York, NY 10017
 Argos Concrete                                      Services                                                                                                  $250,000.00
 3015 Windward
 Plaza
 Ste. 300
 Alpharetta, GA
 30005
 Rod Stohler                                         Accounts                                              $300,000.00               $137,995.73               $162,004.27
 16220 Sierra de                                     Receivable;
 Avila                                               Hollander SKid
 Tampa, FL 33613                                     Steer; electronics,
                                                     comouters,
                                                     mobile phones
 Shine Capital                                       Loan                                                                                                      $118,400.00
 Group, LLC
 124 Grove Ave Unit
 309
 Cedarhurst, NY
 11516
 Billd Exchange, LLC                                 Services                                                                                                    $70,000.00
 c/o Christopher A.
 Staine
 P. O. Box 49948
 Sarasota, FL 34230
 Sunstate Equipment                                  Services                                                                                                    $55,659.02
 Co.
 5552 E. Washington
 St.
 Phoenix, AZ 85034
 Diesel Funding, LLC                                 Services                                                                                                    $47,000.00
 1100 NE 163rd St.
 Miami, FL 33162




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                  Case 8:23-bk-02988                  Doc 1         Filed 07/14/23                Page 8 of 34



 Debtor    CCI Holdings Group, LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 MacDill Property                                    Lawsuit Plaintiff                                                                                           $35,000.00
 Group, LLC
 c/o Gregg Hutt, Esq.
 101 E. Kennedy
 Blvd.
 Ste. 2700
 Tampa, FL 33602
 FTC Advance                                         Loan                                                                                                        $31,000.00
 42 Broadway
 New York, NY 10004
 Putnam Advance                                      Services                                                                                                    $27,500.00
 281 Tresser Blvd.
 Stamford, CT 06901
 Fundbox                                             Loan                                                                                                        $27,444.67
 6900 Dallas Parkway
 Suite 700
 Plano, TX 75024
 Gillman Services                                    Services                                                                                                    $19,541.79
 P. O. Box 823461                                    Case #04313462
 Philadelphia, PA
 19182-3461
 WhiteCap                                            Services                                                                                                      $8,900.00
 P. O. Box 4944
 Orlando, FL
 32802-4944
 Mark Cunningham                                     Pending Lawsuit                                                                                               $8,780.00
 4860 110th Street                                   23-004836-SC
 North
 Saint Petersburg, FL
 33708
 Carol Winchester                                    Refund Due                                                                                                    $6,000.00
 6074 17th Ave.
 North
 Saint Petersburg, FL
 33710
 Arco Murray                                         Arbitration                                                                                                         $0.00
 Construction                                        01-22-0004-5739
 c/o Michael P.
 Benson, Esq.
 10 S. Brodway Ste
 2000
 Saint Louis, MO
 63102
 Corporation Serivce                                 90 days or less:                                         Unknown                $137,995.73                  Unknown
 Company                                             Accounts
 P.O. Box 2576                                       Receivable
 Springfield, IL 62708
 Corporation Serivce                                 90 days or less:                                         Unknown                $137,995.73                  Unknown
 Company                                             Accounts
 P.O. Box 2576                                       Receivable
 Springfield, IL 62708



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                  Case 8:23-bk-02988                  Doc 1         Filed 07/14/23                Page 9 of 34



 Debtor    CCI Holdings Group, LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Corporation Serivce                                 90 days or less:                                         Unknown                $137,995.73                  Unknown
 Company                                             Accounts
 P.O. Box 2576                                       Receivable
 Springfield, IL 62708
 CT Corporation                                      Over 90 days old:                                        Unknown                  $35,105.91                 Unknown
 System                                              Accounts
 330 N Brand Blvd.,                                  Receivable
 Ste 700
 ATTN SPRS
 Glendale, CA 91203




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                                           Case 8:23-bk-02988                                   Doc 1              Filed 07/14/23                         Page 10 of 34

 Fill in this information to identify the case:

 Debtor name            CCI Holdings Group, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           786,813.81

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           786,813.81


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           300,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,030,069.19


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,330,069.19




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                             Case 8:23-bk-02988              Doc 1       Filed 07/14/23         Page 11 of 34

Fill in this information to identify the case:

Debtor name      CCI Holdings Group, LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   Wells Fargo Bank                                Checking                        4844                                    $22,567.30




          3.2.   Wells Fargo                                     Checking                        1371                                             $0.00




          3.3.   Wells Fargo                                     Checking                        4777                                     $6,350.00




          3.4.   Flagship Bank                                   Checking                        9970                                     $6,468.59




          3.5.   Flagship Bank                                   Money Market                                                             $4,000.00




          3.6.   Flagship Bank                                   CD                                                                      $60,326.28




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
                                Case 8:23-bk-02988               Doc 1         Filed 07/14/23              Page 12 of 34

Debtor           CCI Holdings Group, LLC                                                  Case number (If known)
                 Name




          3.7.     Square Account                                                                                             $12,800.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                 $112,512.17
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    137,995.73      -                                    0.00 = ....      $137,995.73
                                        face amount                         doubtful or uncollectible accounts




          11b. Over 90 days old:                        35,105.91      -                                   0.00 =....         $35,105.91
                                        face amount                         doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                 $173,101.64
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                             page 2
                              Case 8:23-bk-02988                  Doc 1        Filed 07/14/23          Page 13 of 34

Debtor       CCI Holdings Group, LLC                                                        Case number (If known)
             Name


      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          (2) Desks and (2) Office Chairs                                                 $0.00                                        $1,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Epson Printer; (3) Laptops; (3) Desktop
          Computers and (6) Phones                                                        $0.00                                        $6,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $7,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          New Hollander Skid Steer Bobcat                                                 $0.00                                       $19,000.00



51.       Total of Part 8.                                                                                                        $19,000.00
          Add lines 47 through 50. Copy the total to line 87.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                               Case 8:23-bk-02988                 Doc 1    Filed 07/14/23           Page 14 of 34

Debtor        CCI Holdings Group, LLC                                                  Case number (If known)
              Name

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.cciconcrete.com                                                       $0.00                                            Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           25% Intereest in Bluepoint Living                                         $0.00                                         $150,000.00


           Marketing Company Credit                                                  $0.00                                            $6,200.00



65.        Goodwill

66.        Total of Part 10.                                                                                                     $156,200.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
                              Case 8:23-bk-02988                Doc 1        Filed 07/14/23            Page 15 of 34

Debtor       CCI Holdings Group, LLC                                                      Case number (If known)
             Name

   Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

         Cause of Action against Arco Murray Construction                                                                       $319,000.00
         Nature of claim
         Amount requested                                       $0.00



         Cause of Action against Corporate Client Services                                                                             $0.00
         Nature of claim
         Amount requested                                       $0.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                   $319,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 5
                                      Case 8:23-bk-02988                           Doc 1            Filed 07/14/23                  Page 16 of 34

Debtor          CCI Holdings Group, LLC                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $112,512.17

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $173,101.64

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $7,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $19,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $156,200.00

90. All other assets. Copy line 78, Part 11.                                                    +                $319,000.00

91. Total. Add lines 80 through 90 for each column                                                            $786,813.81           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $786,813.81




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
                                     Case 8:23-bk-02988                   Doc 1          Filed 07/14/23          Page 17 of 34

Fill in this information to identify the case:

Debtor name         CCI Holdings Group, LLC

United States Bankruptcy Court for the:           MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
      Corporation Serivce
2.1                                                                                                                          Unknown               $137,995.73
      Company                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              90 days or less: Accounts Receivable
      P.O. Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Corporation Serivce
      Company
      2. Corporation Serivce
      Company
      3. Corporation Serivce
      Company
      4. CT Corporation System
      5. CT Corporation System,
      as
      6. Rod Stohler

      Corporation Serivce
2.2                                                Describe debtor's property that is subject to a lien                      Unknown               $137,995.73
      Company
      Creditor's Name                              90 days or less: Accounts Receivable
      P.O. Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   UCC-1

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 4
                                     Case 8:23-bk-02988                  Doc 1          Filed 07/14/23          Page 18 of 34

Debtor      CCI Holdings Group, LLC                                                               Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

      Corporation Serivce
2.3                                                                                                                        Unknown   $137,995.73
      Company                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             90 days or less: Accounts Receivable
      P.O. Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.4   CT Corporation System                       Describe debtor's property that is subject to a lien                     Unknown    $35,105.91
      Creditor's Name                             Over 90 days old: Accounts Receivable
      330 N Brand Blvd., Ste 700
      ATTN SPRS
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                        page 2 of 4
                                     Case 8:23-bk-02988                  Doc 1          Filed 07/14/23          Page 19 of 34

Debtor      CCI Holdings Group, LLC                                                               Case number (if known)
            Name



2.5   CT Corporation System                       Describe debtor's property that is subject to a lien                       Unknown     $137,995.73
      Creditor's Name                             90 days or less: Accounts Receivable
      330 N Brand Blvd., Ste 700
      ATTN SPRS
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.6   CT Corporation System, as                   Describe debtor's property that is subject to a lien                       Unknown     $137,995.73
      Creditor's Name                             90 days or less: Accounts Receivable
      Representative
      330 N. Brand Blvd., Ste. 700
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.7   Rod Stohler                                 Describe debtor's property that is subject to a lien                     $300,000.00   $137,995.73
      Creditor's Name                             Accounts Receivable; Hollander SKid Steer;
                                                  electronics, comouters, mobile phones
      16220 Sierra de Avila
      Tampa, FL 33613
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/15/23                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
                                   Case 8:23-bk-02988                   Doc 1          Filed 07/14/23          Page 20 of 34

Debtor      CCI Holdings Group, LLC                                                              Case number (if known)
            Name


      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $300,000.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
                                 Case 8:23-bk-02988                      Doc 1          Filed 07/14/23                 Page 21 of 34

Fill in this information to identify the case:

Debtor name        CCI Holdings Group, LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Arco Murray Construction                                             Contingent
          c/o Michael P. Benson, Esq.                                          Unliquidated
          10 S. Brodway Ste 2000                                               Disputed
          Saint Louis, MO 63102
                                                                            Basis for the claim:    Arbitration
          Date(s) debt was incurred
                                                                            01-22-0004-5739
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $250,000.00
          Argos Concrete                                                       Contingent
          3015 Windward Plaza                                                  Unliquidated
          Ste. 300                                                             Disputed
          Alpharetta, GA 30005
                                                                            Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number    9802                           Is the claim subject to offset?       No     Yes


3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $70,000.00
          Billd Exchange, LLC                                                  Contingent
          c/o Christopher A. Staine                                            Unliquidated
          P. O. Box 49948                                                      Disputed
          Sarasota, FL 34230
                                                                            Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,000.00
          Carol Winchester                                                     Contingent
          6074 17th Ave. North                                                 Unliquidated
          Saint Petersburg, FL 33710                                           Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Refund Due
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4
                                                                                                          26457
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Debtor      CCI Holdings Group, LLC                                                         Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $47,000.00
         Diesel Funding, LLC                                          Contingent
         1100 NE 163rd St.                                            Unliquidated
         Miami, FL 33162                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $31,000.00
         FTC Advance                                                  Contingent
         42 Broadway                                                  Unliquidated
         New York, NY 10004                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $27,444.67
         Fundbox                                                      Contingent
         6900 Dallas Parkway                                          Unliquidated
         Suite 700                                                    Disputed
         Plano, TX 75024
                                                                   Basis for the claim:    Loan
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,541.79
         Gillman Services                                             Contingent
         P. O. Box 823461                                             Unliquidated
         Philadelphia, PA 19182-3461                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services
         Last 4 digits of account number                           Case #04313462
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $35,000.00
         MacDill Property Group, LLC
         c/o Gregg Hutt, Esq.                                         Contingent
         101 E. Kennedy Blvd.                                         Unliquidated
         Ste. 2700                                                    Disputed
         Tampa, FL 33602
                                                                   Basis for the claim:    Lawsuit Plaintiff
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,780.00
         Mark Cunningham                                              Contingent
         4860 110th Street North                                      Unliquidated
         Saint Petersburg, FL 33708                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Pending Lawsuit
         Last 4 digits of account number                           23-004836-SC
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $27,500.00
         Putnam Advance                                               Contingent
         281 Tresser Blvd.                                            Unliquidated
         Stamford, CT 06901                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 4
                                 Case 8:23-bk-02988                     Doc 1          Filed 07/14/23                   Page 23 of 34

Debtor       CCI Holdings Group, LLC                                                                Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $118,400.00
          Shine Capital Group, LLC                                            Contingent
          124 Grove Ave Unit 309                                              Unliquidated
          Cedarhurst, NY 11516                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $55,659.02
          Sunstate Equipment Co.                                              Contingent
          5552 E. Washington St.                                              Unliquidated
          Phoenix, AZ 85034                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Services
          Last 4 digits of account number   1285
                                                                           Is the claim subject to offset?         No    Yes

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $324,843.71
          Vox Funding                                                         Contingent
          14 E 44th St 4th Floor                                              Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,900.00
          WhiteCap                                                            Contingent
          P. O. Box 4944                                                      Unliquidated
          Orlando, FL 32802-4944                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Services
          Last 4 digits of account number   8528
                                                                           Is the claim subject to offset?         No    Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Yes Capital
          c/o Isaac H. Greenfield, Esq                                        Contingent
          2 Executive Blvd.                                                   Unliquidated
          Ste. 305                                                            Disputed
          Suffern, NY 10901
                                                                           Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       David Fogel, P. C.
          1225 Franklin Ave.                                                                        Line     3.12
          Ste. 201
                                                                                                           Not listed. Explain
          Garden City, NY 11530

4.2       Don Leviton, Esq.
          One Pierce Place                                                                          Line     3.8
          Ste. 725 W
                                                                                                           Not listed. Explain
          Itasca, IL 60143



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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Debtor      CCI Holdings Group, LLC                                                     Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.3       Isaac H. Greenfield, Esq.
          2 Executive Blvd.                                                            Line     3.5
          Ste. 305
                                                                                              Not listed. Explain
          Suffern, NY 10901

4.4       Jeffrey Stringer, Esq.
          639 Whitlock Ave. SW                                                         Line     3.2
          Marietta, GA 30064
                                                                                              Not listed. Explain

4.5       Todd F. Kobrin, Esq.
          300 S. Orange Ave.                                                           Line     3.15
          Ste. 1600
                                                                                              Not listed. Explain
          Orlando, FL 32801

4.6       Yonatan Klestzick, Esq.
          71 S. Central Ave.                                                           Line     3.14
          2nd Floor
                                                                                              Not listed. Explain
          Valley Stream, NY 11580


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                  1,030,069.19

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    1,030,069.19




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 4
                              Case 8:23-bk-02988                  Doc 1        Filed 07/14/23             Page 25 of 34

Fill in this information to identify the case:

Debtor name       CCI Holdings Group, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Office lease located at
           lease is for and the nature of        Oakbrook Tower, 2451
           the debtor's interest                 McMullen Booth Rd.,
                                                 Clearwater, FL 33759
               State the term remaining          2 Months
                                                                                    National Properties Trust
           List the contract number of any                                          2645 McMullen Booth Rd.
                 government contract                                                Clearwater, FL 33759




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      CCI Holdings Group, LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Petar Pitesa                2451 N. McMullen Booth Rd.                                Argos Concrete                     D
                                      Ste. 241                                                                                     E/F       3.2
                                      Clearwater, FL 33759
                                                                                                                                   G




   2.2    Petar Pitesa                2451 N. McMullen Booth Rd. Ste. 241                       Billd Exchange, LLC                D
                                      Clearwater, FL 33759                                                                         E/F       3.3
                                                                                                                                   G




   2.3    Petar Pitesa                2451 N. McMullen Booth Rd. Ste. 241                       Corporation Serivce                D   2.1
                                      Clearwater, FL 33759                                      Company                            E/F
                                                                                                                                   G




   2.4    Petar Pitesa                2451 N. McMullen Booth Rd. Ste. 241                       Corporation Serivce                D   2.2
                                      Clearwater, FL 33759                                      Company                            E/F
                                                                                                                                   G




   2.5    Petar Pitesa                2451 N. McMullen Booth Rd. Ste. 241                       Corporation Serivce                D   2.3
                                      Clearwater, FL 33759                                      Company                            E/F
                                                                                                                                   G



Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 3
                           Case 8:23-bk-02988             Doc 1      Filed 07/14/23          Page 27 of 34

Debtor    CCI Holdings Group, LLC                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 CT Corporation                     D   2.4
                                   Clearwater, FL 33759                                System                             E/F
                                                                                                                          G




  2.7     Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 CT Corporation                     D   2.5
                                   Clearwater, FL 33759                                System                             E/F
                                                                                                                          G




  2.8     Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 CT Corporation                     D   2.6
                                   Clearwater, FL 33759                                System, as                         E/F
                                                                                                                          G




  2.9     Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Diesel Funding, LLC                D
                                   Clearwater, FL 33759                                                                   E/F   3.5
                                                                                                                          G




  2.10    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Fundbox                            D
                                   Clearwater, FL 33759                                                                   E/F   3.7
                                                                                                                          G




  2.11    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Gillman Services                   D
                                   Clearwater, FL 33759                                                                   E/F   3.8
                                                                                                                          G




  2.12    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 MacDill Property                   D
                                   Clearwater, FL 33759                                Group, LLC                         E/F   3.9
                                                                                                                          G




  2.13    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Putnam Advance                     D
                                   Clearwater, FL 33759                                                                   E/F   3.11
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 3
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Debtor    CCI Holdings Group, LLC                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Shine Capital Group,               D
                                   Clearwater, FL 33759                                LLC                                E/F   3.12
                                                                                                                          G




  2.15    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Vox Funding                        D
                                   Clearwater, FL 33759                                                                   E/F   3.14
                                                                                                                          G




  2.16    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 WhiteCap                           D
                                   Clearwater, FL 33759                                                                   E/F   3.15
                                                                                                                          G




  2.17    Petar Pitesa             2451 N. McMullen Booth Rd. Ste. 241                 Yes Capital                        D
                                   Clearwater, FL 33759                                                                   E/F   3.16
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 3
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                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    CCI Holdings Group, LLC                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Petar J. Pitesa                                                                                                              100%
3000 Gulf to Bay Blvd., Suite 305
Clearwater, FL 33759


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized Member of the corporation named as the debtor in this case, declare under penalty of perjury that
I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date July 14, 2023                                                       Signature /s/ Petar J. Pitesa
                                                                                        Petar J. Pitesa

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                      Middle District of Florida
 In re   CCI Holdings Group, LLC                                                                Case No.
                                                                    Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Authorized Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:     July 14, 2023                                 /s/ Petar J. Pitesa
                                                        Petar J. Pitesa/Authorized Member
                                                        Signer/Title
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CCI Holdings Group, LLC                 Buddy D. Ford, Esquire                Arco Murray Construction
2451 N. McMullen Booth Rd. Ste. 241     Buddy D. Ford, P.A.                   c/o Michael P. Benson, Esq.
Clearwater, FL 33759                    9301 West Hillsborough Avenue         10 S. Brodway Ste 2000
                                        Tampa, FL 33615-3008                  Saint Louis, MO 63102


Argos Concrete                          Billd Exchange, LLC                   Carol Winchester
3015 Windward Plaza                     c/o Christopher A. Staine             6074 17th Ave. North
Ste. 300                                P. O. Box 49948                       Saint Petersburg, FL 33710
Alpharetta, GA 30005                    Sarasota, FL 34230


Corporation Serivce Company             CT Corporation System                 CT Corporation System, as
P.O. Box 2576                           330 N Brand Blvd., Ste 700            Representative
Springfield, IL 62708                   ATTN SPRS                             330 N. Brand Blvd., Ste. 700
                                        Glendale, CA 91203                    Glendale, CA 91203


David Fogel, P. C.                      Diesel Funding, LLC                   Don Leviton, Esq.
1225 Franklin Ave.                      1100 NE 163rd St.                     One Pierce Place
Ste. 201                                Miami, FL 33162                       Ste. 725 W
Garden City, NY 11530                                                         Itasca, IL 60143


FTC Advance                             Fundbox                               Gillman Services
42 Broadway                             6900 Dallas Parkway                   P. O. Box 823461
New York, NY 10004                      Suite 700                             Philadelphia, PA 19182-3461
                                        Plano, TX 75024


Isaac H. Greenfield, Esq.               Jeffrey Stringer, Esq.                MacDill Property Group, LLC
2 Executive Blvd.                       639 Whitlock Ave. SW                  c/o Gregg Hutt, Esq.
Ste. 305                                Marietta, GA 30064                    101 E. Kennedy Blvd.
Suffern, NY 10901                                                             Ste. 2700
                                                                              Tampa, FL 33602

Mark Cunningham                         Putnam Advance                        Rod Stohler
4860 110th Street North                 281 Tresser Blvd.                     16220 Sierra de Avila
Saint Petersburg, FL 33708              Stamford, CT 06901                    Tampa, FL 33613



Shine Capital Group, LLC                Sunstate Equipment Co.                Todd F. Kobrin, Esq.
124 Grove Ave Unit 309                  5552 E. Washington St.                300 S. Orange Ave.
Cedarhurst, NY 11516                    Phoenix, AZ 85034                     Ste. 1600
                                                                              Orlando, FL 32801


Vox Funding                             WhiteCap                              Yes Capital
14 E 44th St 4th Floor                  P. O. Box 4944                        c/o Isaac H. Greenfield, Esq
New York, NY 10017                      Orlando, FL 32802-4944                2 Executive Blvd.
                                                                              Ste. 305
                                                                              Suffern, NY 10901
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Yonatan Klestzick, Esq.
71 S. Central Ave.
2nd Floor
Valley Stream, NY 11580
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                               Middle District of Florida
 In re       CCI Holdings Group, LLC                                                                          Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 14, 2023                                                            /s/ Buddy D. Ford, Esquire
     Date                                                                     Buddy D. Ford, Esquire 0654711
                                                                              Signature of Attorney
                                                                              Buddy D. Ford, P.A.
                                                                              9301 West Hillsborough Avenue
                                                                              Tampa, FL 33615-3008
                                                                              (813)877-4669 Fax: (813)877-5543
                                                                              All@tampaesq.com
                                                                              Name of law firm
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                                         United States Bankruptcy Court
                                               Middle District of Florida
 In re   CCI Holdings Group, LLC                                                    Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CCI Holdings Group, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 14, 2023                                  /s/ Buddy D. Ford, Esquire
Date                                           Buddy D. Ford, Esquire 0654711
                                               Signature of Attorney or Litigant
                                               Counsel for CCI Holdings Group, LLC
                                               Buddy D. Ford, P.A.
                                               9301 West Hillsborough Avenue
                                               Tampa, FL 33615-3008
                                               (813)877-4669 Fax:(813)877-5543
                                               All@tampaesq.com
